Case: 23-60551           Document: 62-1         Page: 1      Date Filed: 08/22/2024




          United States Court of Appeals
               for the Fifth Circuit
                                  ____________
                                                                            United States Court of Appeals
                                                                                     Fifth Circuit
                                   No. 23-60551
                                 Summary Calendar                                  FILED
                                 ____________                                August 22, 2024
                                                                              Lyle W. Cayce
Jose Luis Santoya Lara,                                                            Clerk

                                                                              Petitioner,

                                         versus

Merrick Garland, U.S. Attorney General,

                                                                            Respondent.
                  ______________________________

                     Petition for Review of an Order of the
                         Board of Immigration Appeals
                           Agency No. A075 894 005
                  ______________________________

Before Higginbotham, Jones, and Oldham, Circuit Judges.
Per Curiam: *
      Jose Luis Santoya Lara, a native and citizen of Mexico, petitions for
review of a decision of the Board of Immigration Appeals (BIA) denying his
motion to reopen. The denial was based on the BIA’s conclusion that
Santoya Lara had not shown prima facie eligibility for adjustment of status
because he did not warrant the favorable exercise of discretion that is a

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 23-60551          Document: 62-1    Page: 2    Date Filed: 08/22/2024




                                 No. 23-60551


necessary component of this form of relief. See Parada-Orellana v. Garland,
21 F.4th 887, 893 (5th Cir. 2022); 8 U.S.C. § 1255(a). The Respondent
moves to dismiss for want of jurisdiction under 8 U.S.C. § 1252(a)(2)(B).
       The Respondent is correct insofar as he asserts that the jurisdiction-
stripping provision of § 1252(a)(2)(B) applies here. See Parada-Orellana, 21
F.4th at 891-95. Additionally, Santoya Lara’s argument that the BIA erred
by not properly considering his favorable considerations and focusing on the
negative factors in his case is not a legal argument that this court may review
under § 1252(a)(2)(D) but instead is a challenge to a discretionary decision
that may not be reviewed under § 1252(a)(2)(B). Carreon v. Garland, 71
F.4th 247, 254-55 (5th Cir. 2023). The motion to dismiss for want of
jurisdiction is GRANTED, and the petition for review is DISMISSED for
want of jurisdiction.




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